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                      UNITED STATES DISTRICT COURT

                FOR THE EASTERN DISTRICT OF LOUISIANA


CATHERINE BROWN                                      CIVIL No.      21-1844

versus                                               JUDGE:         JTM

MINYANGO TOKPAH, SHAKIM HARRIS,                      MAGIS:          JVM
TANISHA WRIGHT, ANDREA MICHELLE
STEWART, JONTE MILLER, and
THERESA D. BRUNSON


                                     ORDER

CONSIDERING THE FOREGOING (Doc. 54),

    IT IS ORDERED that the Motion is GRANTED and that the submission date of

Andrea Stewart, Anti Fraud Warriors, LLC and Gerald Palmer’s recently filed Motion

to Dismiss (Rec. Doc. #51), currently scheduled for Submission on June 15, 2022, is

CONTINUED to the next scheduled Civil Hearing/Submission date of June 29, 2022.

    New Orleans, Louisiana, this 7th day of June, 2022




                  _______________________________________
                     HONORABLE JANE TRICHE MILAZZO
                       UNITED STATES DISTRICT JUDGE
